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                         IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO

 In re:

 EDGARDO NICOLAS MARTINEZ PEREZ                                 Case No. 16-05934
                                                                Chapter 13


 Debtors

               URGENT MOTION TO ALTER OR AMEND ORDER NUNC PRO TUNC

 TO THE HONORABLE COURT:

          COMES NOW Debtor, represented by the undersigned law office, respectfully sets forth and

 prays:

          1.      On August 6, 2018, Debtor filed two motions requesting authorization to sale a real

 property with shorter time to object. See, Docket No. 129 and 130.

          2.      Inadvertently, Debtor did not provide a justification for the request to shorten the time

 to object to the aforementioned motion.

          3.      Thereafter, on August 8, 2018, this Honorable Court entered an order denying Debtor's

 request for shortening the time to object to the sale of real property for failure to give a proper

 justification. See, Docket No. 130 and 131.

          4.      The reason why the Debtor requested this Honorable Court to shorten the time to

 object is because the only thing needed to conclude the transaction to sell the real property is the

 authorization from the Court.

          5.      Therefore, the Debtor respectfully request from this Honorable Court, to amend or

 alter the order nunc pro tunc in order to shorter the time to object to the sale of the real property until

 August 16, 2018.

          6.      The sale of this property is in the best interest of Creditors and the Estate.

          7.      As provided for in Local Bankruptcy Rule 9013(f), undersigned counsel hereby

 certifies that he:
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                (a)              has carefully examined the matters set forth herein and has concluded
                                 that there is a true need for their disposition on an expedited basis, in
                                 as much as the only thing needed to conclude the transaction is the
                                 authorization from this Honorable Court;

                (b)              has not created the emergency through any lack of due diligence;

                (c)              has made a bona fide effort to resolve the matter in as much as this
                                 issue has been discussed with the Chapter 13 Trustee and they agreed
                                 that the sale of this property is in the best interest of Creditors and the
                                 Estate.

        WHEREFORE, the Debtor respectfully requests from this Honorable Court to grant this

 Motion and amend or alter the order nunc pro tunc in order to shorter the time to object to the sale of

 the real property until August 16, 2018, with any further relief that is just and proper.

         CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically filed
 the above document with the Clerk of the Court using the CM/ECF system, which will send
 notification, upon information and belief, of such filing to the following: CHAPTER 13 TRUSTEE
 AND THE UNITED STATES TRUSTEE and to all CM/ECF participants. We also certify that this
 same date we have mailed by United States Postal Service the document to all creditors and parties
 in interest as per the attached master address list.

      RESPECTFULLY SUBMITTED
      In San Juan, Puerto Rico this 13th day of August, 2018.


                                                          /s/ William Rivera Vélez
                                                          William Rivera Vélez
                                                          USDC No. 229408
                                                          COSVI Office Complex
                                                          Esq. Ave. Américo Miranda 400
                                                          Edif. Original, Local B
                                                          San Juan, PR 00927
                                                          Tel. (787) 625-1948 / (787) 469-8913
                                                          Fax. 787-625-1949
                                                          E-mail: wrvlaw@gmail.com
